     Case 18-09108-RLM-11                    Doc 354        Filed 03/26/19          EOD 03/26/19 17:00:02                Pg 1 of 2


                                         UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF Southern Indiana

                                                      Minute Entry/Order
Hearing Information:
                         Debtor:   USA GYMNASTICS
                  Case Number:     18-09108-RLM-11                    Chapter: 11

          Date / Time / Room:      TUESDAY, MARCH 26, 2019 01:30 PM IP 329

         Bankruptcy Judge:         ROBYN L. MOBERLY
               Courtroom Clerk:    MICHELLE DOLE
                Reporter / ECR:    MICHELLE DOLE                                                                               0.00


Matters:
       1) Hearing on Motion to Extend Exclusivity Period to File a Chapter 11 Plan and Disclosure Statement filed by Debtor [325]
              R / M #:   0/ 0

       2) Hearing on Motion to Extend Time to Assume or Reject filed by Debtor [326] and amended motion [338]
              R / M #:   0/ 0

       3) Hearing on Motion for Authority to Enter into Employment Agreement filed by Debtor [319], Response of Tort Claimants
          Committee [348] and debtor's reply [350]
          R / M #: 0 / 0

       4) ADV: 1-19-50012
              USA Gymnastics vs Ace American Insurance Company & Great American Assurance Company & Liberty
              Insurance Underwriters Inc. & National Casualty Company & RSUI Indemnity Company & TIG Insurance
              Company & Virginia Surety Company, Inc. & Western World Insurance Company & Endurance American
              Insurance Company & American International Group, Inc. & American Home Assurance Company & DOE
              Insurers, identities unknown
              Hearing on Motion for Stay Pending Withdrawal of Reference filed on behalf of Defendant Ace American Insurance
              Company [38] and Response/Objection filed on behalf of Plaintiff USA Gymnastics [75]
              R / M #: 0 / 0



Appearances:

        CATHERINE L. STEEGE, ATTORNEY FOR USA GYMNASTICS
        GREGORY MICHAEL GOTWALD, ATTORNEY FOR USA GYMNASTICS
        MELISSA M. ROOT, ATTORNEY FOR USA GYMNASTICS
        JAMES I. STANG, ATTORNEY FOR SEXUAL ABUSE SURVIVORS
        DIANNE COFFINO, ATTORNEY FOR UNITED STATES OLYMPIC COMMITTEE
        MICHAEL L. RALPH, ATTORNEY FOR ELITE SPORTSWEAR LP
        DEBORAH CARUSO, ATTORNEY FOR SEXUAL ABUSE SURVIVORS
        MEREDITH R. THEISEN, ATTORNEY FOR SEXUAL ABUSE SURVIVORS
        STEPHEN JAY PETERS, ATTORNEY FOR ACE AMERICAN INSURANCE COMPANY
        ROBERT MILLNER, ATTORNEY FOR VIRGINIA SURETY COMPANY, INC.
        GEORGE CALHOUN, ATTORNEY FOR TIG INSURANCE COMPANY
        KEVIN P KAMRACZEWSKI, ATTORNEY FOR VIRGINIA SURETY COMPANY, INC.
        IGOR SHLEYPAK, ATTORNEY FOR AMERICAN INTERNATIONAL GROUP, INC., AMERICAN HOME ASSURANCE
        COMPANY
        JAMES P MOLOY, ATTORNEY FOR VIRGINIA SURETY COMPANY, INC.
        GINNY L. PETERSON, ATTORNEY FOR LIBERTY INSURANCE UNDERWRITERS INC.
        PHILLIP ALAN MARTIN, ATTORNEY FOR ENDURANCE AMERICAN INSURANCE COMPANY
        CARL N. KUNZ, ATTORNEY FOR NATIONAL CASUALTY INSURANCE COMPANY
        MARTHA R. LEHMAN, ATTORNEY FOR CURTIS T. HILL, JR.
        LAURA A DUVALL, ATTORNEY FOR U.S. TRUSTEE
Page 1 of 2                                                                                                           3/26/2019     4:38:28PM
       Case 18-09108-RLM-11                  Doc 354        Filed 03/26/19          EOD 03/26/19 17:00:02                 Pg 2 of 2


                                        UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF Southern Indiana

                                                      Minute Entry/Order
(continue)...   18-09108-RLM-11               TUESDAY, MARCH 26, 2019 01:30 PM


Proceedings:                                                                                                                1.00

          (1) Disposition: Hearing held. Motion granted in accordance with the terms outlined in the motion. Judge to
          review and sign the order.

          (2) Disposition: Hearing held. Motion granted in accordance with the terms outlined in the motion. Judge to
          review and sign the order.

          (3) Disposition: Hearing held. Motion is granted. Committee response resolved. Judge to review and sign the
          order provided.

          (4) Disposition: Hearing held. Court will be granting joint stipulation dismissing AIG from the adversary
          proceeding. Judge to review order submitted by ACE American Insurance Company. Matters to be heard at next
          omnibus date of 4/17/19 at 1:30 p.m. This hearing will be heard on oral argument only, no testimony or
          evidence anticipated. Replies due by 4/2/19.

IF COUNSEL HAS BEEN DIRECTED BY THE COURT TO SUBMIT AN ORDER BASED ON THE COURT'S RULING
OR THE PARTIES' AGREEMENT, THEN NO FURTHER NOTICE OR REMINDER WILL BE ISSUED. THE COURT
WILL NOT KEEP A CASE OPEN SOLELY BECAUSE THE ORDER WAS NOT SUBMITTED WITHIN THE TIME
PERIOD DIRECTED BY THE COURT. IN SUCH INSTANCE, A REOPENING FEE WILL APPLY.




Page 2 of 2                                                                                                             3/26/2019   4:38:28PM
